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CIVIL ACTION NO. H 04 0096

 

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

 

Technip Offshore, Inc. (As Substituted For
Technip Offshore Contractors, Inc.,
F/K/A CoFlexip Stena Offshore, Inc.),

Plaintiff,

Williams Field Services-Gulf Coast Company, L.P.
and Williams Oil Gathering, LLC,

Defendants.

 

DEFENDANTS’ BRIEF IN RESPONSE TO PLAINTIFEF’S
SECOND MOTION FOR PARTIAL SUMMARY JUDGMENT
AND CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

TECHNIP OFFSHORE, INC. (as
Substituted for TECHNIP OFFSHORE
CONTRACTORS, INC., f/k/a COFLEXIP
STENA OFFSHORE, INC.),

Plaintiff,

CIVIL ACTION NO. H 04 0096
VS.

WILLIAMS FIELD SERVICES-GULF
COAST COMPANY, L.P. AND
WILLIAMS OIL GATHERING, LLC,

Defendants.

SLR Sh SLI SP) SP) SS) SS) SI LP SP SS? LP SP LP?

 

DEFENDANTS’ BRIEF IN RESPONSE TO PLAINTIFF’S
SECOND MOTION FOR PARTIAL SUMMARY JUDGMENT
AND CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

 

TO THE HONORABLE JUDGE ROSENTHAL:

Pursuant to Rule 56 of the Federal Rules of Civil Procedure and subsection 6 of the
Court’s Local Rules and Procedures, Defendants, Williams Field Services — Gulf Coast
Company, L.P. and Williams Oil Gathering, L.L.C. (collectively, “Williams”), respectfully
submit the following Brief in Response to the Second Motion for Partial Summary Judgment of
Plaintiff Technip Offshore, Inc. (as substituted for Technip Offshore Contractors, Inc. f/k/a
CoFlexip Stena Offshore, Inc.) (“Technip”) and Defendants’ Brief in Support of Cross-Motion
for Partial Summary Judgment, and request that the Court deny Technip’s Second Motion for
Partial Summary Judgment and grant Williams’ Cross-Motion for Partial Summary Judgment,

both of which address Williams’ breach of contract claim for liquidated damages.
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I.
BACKGROUND AND NATURE AND STAGE OF THE PROCEEDINGS

This lawsuit arises out of an August 13, 2001 Engineering, Procurement, Installation, and
Commissioning of Gas Export Pipeline and Oil Export Pipeline Contract (the “Contract”)
between Williams and Technip. Pursuant to the Contract, Technip agreed to design and install,
inter alia, a gas and an oil pipeline in the United States Gulf of Mexico. The Contract is attached
to Technip’s Second Motion for Partial Summary Judgment as Exhibit B.

Technip filed suit against Williams, asserting several claims for breach of the Contract.
See Plaintiff's Fourth Amended Original Complaint. In response, Williams has asserted a
counterclaim against Technip for breach of the Contract’s liquidated damages provision. See
Defendants’ Fourth Amended Answer and Counterclaim at 17. Specifically, Williams alleges
that under Article 23.5 of the Contract, Technip was required to achieve Substantial Completion
by the later of March 2, 2003, or the SPAR Access Date plus fifty-one (51) days; otherwise,
liquidated damages would be assessed for each day thereafter.

Article 23.5 of the Contract states:

23.5.1 Pipeline(s)/SPAR Connections

(a) Should CONTRACTOR fail to achieve Substantial Completion
of the Work by the later of either 02 March 2003 or the SPAR
Access Date plus fifty-one (51) days, the COMPANY may assess
as liquidated damages (LD), but not as a penalty, an amount of
money per day equal to the LD value calculated in accordance with
the mechanism below, for every day that the Work is not so
completed, but only up to and not in excess of the aggregate
maximum amount of ten percent (10%) of the Contract Sum,
above which amount COMPANY agrees to _ release
CONTRACTOR. For purposes of this clause, the fifty-one (51)
day scheduled will not be extended by events of Force Majeure in
Article 20.0, except to the extent the aggregate of Force Majeure
days occurring prior to the SPAR Access Date extends fifteen (15)
days.
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Day of delay LD Value per Day ($)
01-30 $100,000
31-60 $200,000
61-75 $300,000

Pursuant to Article 23.5, once the SPAR Access Date is set, Technip had 51 days to complete its
SPAR Work. If Technip fails to complete the SPAR Work within the 51-day period, Wiliams
had the right to assess liquidated damages against Technip in the amounts shown above.

In accordance with Article 2.6 of the Contract, Williams set the SPAR Access Date for
January 27, 2004. See Affidavit of Guy Suffridge at § 4, attached hereto as Exhibit “A”.
Substantial Completion occurred on April 22, 2004, 86 days later. See id. Therefore, Article
23.5 became operable on March 18, 2004, and ran until April 22, 2004. Asa result, Williams is
entitled to liquidated damages for thirty-five (35) days, totaling Four Million Dollars
($4,000,000.00).'

Technip’s Motion for Partial Summary Judgment on Williams’ liquidated damages claim
is based on Technip’s argument that because Williams did not provide the SPAR Access Date in
accordance with the diminishing window mechanism contained in Article 2.0 of the Contract,
Williams could not have set a SPAR Access Date without Technip’s consent. Technip’s
argument has already been rejected by this Court. In its March 21, 2005, Memorandum and
Opinion, the Court found that Williams was not obligated to follow the diminishing window
mechanism once the SPAR Access Date was extended beyond the initial Article 2.0 window. It
is not disputed that such an extension occurred. The Court further found that Williams was not

required to obtain Technip’s agreement before setting the SPAR Access Date under these

 

' Williams inadvertently included January 27, 2004, in its initial calculation and, thus, originally sought an
additional $200,000. See Defendants’ Fourth Amended Answer and Counterclaim at { 116.
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circumstances. The Court’s findings are entirely consistent with the unambiguous language of
the Contract. Thus, Technip’s motion should be denied.

Moreover, because there is no dispute regarding the date of Substantial Completion or the
date on which Williams set the SPAR Access Date, there is no factual dispute regarding
Williams’ claim for liquidated damages. See Memorandum and Opinion at 19-20, 22 n.7.
Specifically, the Contract can easily be applied to the undisputed facts to determine the amount
of liquidated damages. It is on this basis that Williams is entitled to partial summary judgment

on its cross-motion.

Il.
STATEMENT OF THE ISSUES

1. Whether Technip’s Motion for Partial Summary Judgment should be denied
because Williams was not obligated to set the SPAR Access Date within the “diminishing
window” identified in Article 2.0, and because Williams was not obligated to obtain Technip’s
consent in order to set anew SPAR Access Date once this window had passed.

2. Whether Williams’ Cross-motion for Partial Summary Judgment should be
granted because Technip did not achieve Substantial Completion within fifty-one (51) days of
the SPAR Access Date and because the date upon which it did achieve Substantial Completion is
undisputed.

HI.
SUMMARY OF THE ARGUMENT

Technip seeks summary judgment on Williams’ liquidated damages claim, asserting two
bases for its motion: (1) that Williams failed to provide the SPAR Access Date in accordance
with the diminishing window mechanism contained in Article 2.0 of the Contract, rendering
Technip’s date for access to the SPAR invalid for purposes of assessing liquidated damages; and

(2) that Technip performed its work timely considering the earliest the SPAR Access Date could
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be set in accordance with Technip’s interpretation of the Contract’s terms. Neither of these
arguments have merit. First, both are in express contradiction to the Court’s Memorandum and
Opinion entered on March 21, 2005. In its Memorandum and Opinion, the Court found that
Williams was not required to comply with the diminishing window mechanism in Article 2.4 and
that Williams could set a SPAR Access Date outside of this window pursuant to Article 2.6. See
Memorandum and Opinion at 20, 22 n.7. For this reason alone, Technip’s motion should be
rejected.

Second, neither of Technip’s bases is supported by the Contract. The term “SPAR
Access Date” is defined by the Contract as “The date upon which the CONTRACTOR shall be
provided full access to commence Work at the SPAR in accordance with the requirements of
Article 2.0.” Thus, the date Technip was given access to the SPAR and the “SPAR Access Date”
are the same. Moreover, the definition does not require that the SPAR Access Date be
determined by Article 2.4, but instead refers to all of Article 2.0, which includes Article 2.6 and
is consistent with the Court’s prior ruling.

Thus, in light of the Court’s prior ruling and the Contract’s terms, Williams requests that
the Court deny Technip’s motion for partial summary judgment and, instead, enter summary
judgment on Williams’ claim for liquidated damages.

IV.
ARGUMENT AND AUTHORITIES ON
TECHNIP’S MOTION FOR PARTIAL SUMMARY JUDGMENT

A. Summary Judgment Standard

Under Federal Rule of Civil Procedure 56(c), a motion for summary Judgment should be
granted if “the pleadings, depositions, answers to interrogatories, and admissions on file, together
with the affidavits, if any, show that there is no genuine issue as to any material fact and that the

moving party is entitled to a judgment as a matter of law.” FED. R. Crv. P. 56(¢). The moving
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party bears the burden of establishing that there are no genuine issues of material fact. Little v.
Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994). If the moving party fails to meet its initial
burden, the motion must be denied regardless of the nonmovant’s response. Id. If the movant
does meet its burden, the burden shifts to the nonmoving party to go beyond the pleadings and
designate specific facts showing that there is a genuine issue for trial. Hickman v. U.G. Lively,
897 F. Supp. 955, 957 (S.D. Tex. 1995) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 325, 106
S. Ct. 2548, 2553-54, 91 L. Ed.2d 265 (1986)).

B. Williams Provided a Valid SPAR Access Date in Accordance with Article 2.0 of the
Contract

Technip argues that it is entitled to partial summary judgment on Williams’ liquidated
damages claim because Williams allegedly failed to provide a SPAR Access Date in accordance
with Article 2.0 of the Contract, rendering the date on which Williams provided access to the
SPAR invalid for purposes of assessing liquidated damages. Technip argues that the “SPAR
Access Date” can only be set by the diminishing window procedure in Article 2.4 and not by
Article 2.6, noting that Article 2.6 does not contain the term “SPAR Access Date.” Thus,
Technip asserts that a purported SPAR Access Date set by Williams pursuant to Article 2.6 is not
the SPAR Access Date but is merely the date Technip was given access to the SPAR.

Technip’s argument fails, in the first instance, because it is in direct conflict with the
Court’s findings in its March 21 Memorandum and Opinion. Throughout its argument, Technip
states that Williams was contractually required to comply with the diminishing window
mechanism in Article 2.4 and that since the date Williams informed Technip it would have
access to the SPAR allegedly did not comply with that mechanism, the date could not have been
the SPAR Access Date. In its Memorandum and Opinion, however, the Court expressly found

that neither Article 2.4 nor Article 2.6 obligated Williams to provide diminishing window notices
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once it moved the SPAR Access Date beyond March 15, 2003. See Memorandum and Opinion
at 22 n.7. Rather, the Court found that Article 2.6 contemplates that the window could be
extended past March 15, 2003, see id. at 20, 22 n.7, and that Article 2.6 does not address any
diminishing window notice obligation if the ending date of the window is extended. See id. at 22
n.7. The Court’s specifically stated as follows:

Technip does not argue that Williams breached a contractual
obligation to provide diminishing window notices after it moved
the SPAR Access Date beyond March 15, 2003. Article 2.4 does
not provide such an obligation. Article 2.4 is based on a SPAR
Access Date within the four-month window ending on March 15,
2003. Nor does Article 2.6 provide such an obligation. Article 2.6
contemplates the issuance of a SPAR Access Date later than March
15, 2003. Article 2.6 begins with the words, “notwithstanding the
foregoing,” and does not address any diminishing window notice
obligation if the ending date of the window is extended. Technip
has not pointed to Contract language that would require Williams
to issue diminishing window notices following the structure of
Article 2.4 if the window is extended past March 15, 2003, as
Article 2.6 contemplates could occur.

 

Id. (emphasis added). Thus, this Court has already ruled that Williams could set the SPAR
Access Date outside of the diminishing window referenced in Article 2.4, and for that reason
alone, Technip’s motion should be denied.

Technip also repeatedly argues that the parties were required to mutually consent to a
SPAR Access Date and that Williams could not unilaterally set the SPAR Access Date. Again,
this argument is in direct conflict with the Court’s Memorandum and Opinion. The Court
recognized that Article 2.4 of the Contract only requires the parties to mutually agree to a new
SPAR Access Date in two situations: (1) if Technip is unable to meet the SPAR Access Date; or
(2) if Williams issued a window that was different from the diminishing window schedule, but
still within the November 15, 2002 to March 15, 2003 time frame. See Memorandum and

Opinion at 19-20. Neither of these situations occurred here since the SPAR Access Date fell
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outside the original diminishing window schedule. Thus the Court found that “the Contract did
not prohibit Williams from issuing a SPAR Access Date beyond March 15, 2003, or require that
a later date be mutually agreed. To the contrary, the Contract contemplates this circumstance.”
Id. at 20.

Technip further argues that even if Article 2.6 allowed Williams to unilaterally set a
SPAR Access Date beyond March 15, 2003, Article 2.6 conflicts with Article 2.4, creating an
ambiguity. Again, the Court rejected this argument when it found that Williams was entitled to
unilaterally set a SPAR Access Date beyond March 15, 2003. The Court cited Article 2.6, which
begins with the words “notwithstanding the foregoing” and which does not require Williams to
issue diminishing window notices. Id. at 22 n.7. Thus, there is no conflict between Articles 2.4
and 2.6, since they each serve different purposes, can both be read together, and can both be
given effect. See Coker v. Coker, 650 S.W.2d 391, 393 (Tex. 1951) (stating that it is a court’s
duty to interpret an unambiguous contract “in an effort to harmonize and give effect to all the
provisions of the contract so that none will be rendered meaningless”).

Technip’s argument that the date Williams provided Technip access to complete its work
at the SPAR was not the “SPAR Access Date” is, likewise, not supported by the terms and
provisions of the Contract. The Contract defines the term “SPAR Access Date” as “[t]he date
upon which the CONTRACTOR shall be provided full access to commence Work at the SPAR
in accordance with the requirements of Article 2.0.” See Contract at 3. Thus, the date Technip
was given access to commence work on the SPAR “in accordance with the requirements of
Article 2.0” is, by definition, the “SPAR Access Date.” In this regard, the definition in Article
1.0 does not require that the SPAR Access Date be determined by Article 2.4, but instead refers

to all of Article 2.0, which includes Article 2.6. In this regard, the Court has already determined
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that “Article 2.6 contemplates the issuance of a SPAR Access Date later than March 15, 2003.
Article 2.6 begins with the words, ‘notwithstanding the foregoing,’ and does not address any
diminishing window notice obligation if the ending date of the window is extended.”
Memorandum and Opinion at 22 n.7. Thus, the date on which Williams provided Technip access
to the SPAR, since it was outside the Article 2.4 window, was, as a matter of law, the SPAR
Access Date.

Technip next argues that January 27, 2004,” could not have been the SPAR Access Date
because Paul Thomson testifies that Technip was not granted access to the SPAR until February
18, 2004. In his affidavit, Thomson bases his assertion on the fact that Technip did not complete
its SCR installation preparation activities on the SPAR until February 18, 2004. This argument
is nonsensical, since, if accepted, it would have allowed Technip to delay the SPAR Access Date
indefinitely by delaying its own SCR installation preparation activities, activities which the
Contract required Technip to have completed months earlier. See Exhibit B of the Contract at
Section 4.7 (“The Devils Tower reeled SCR’s will be installed, prior to the arrival of the SPAR,
by the CSO Deep Blue into target locations at the SPAR complete with all required VIV Strakes,
flex-joints and anodes attached.”) (emphasis added). More importantly, there is nothing in the
Contract that conditions the SPAR Access Date on the prior completion of Technip’s SCR
installation preparation activities, and Technip provides no other evidence that it was not granted
access to complete its work on the SPAR on January 27, 2004.

Finally, Technip argues that because Williams proposed a new diminishing window,

 

? Technip asserts that January 22, 2004, was the SPAR Access Date Williams provided to Technip. Williams did
provide the date of January 22, 2004 in a December 31, 2003 letter to Technip. See Technip’s Second Motion for
Partial Summary Judgment, Exhibit A-9. Had Technip been ready to begin its work on the SPAR on January 22,
2004, full access would have been provided. See Ex. “A”, Affidavit of Guy S. Suffridge at | 5. However, since
other work was being performed on the SPAR until January 27, 2004, it is that date from which Williams has
calculated its liquidated damages. See id.
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Williams must have believed that it was bound to do so. As is clear from the evidence presented
by Technip, Williams discussed the issuance of a new diminishing window only in an attempt to
assist Technip, not because it was contractually required to do so. See Technip’s Second Motion
for Partial Summary Judgment, Exhibit A-5, December 10, 2002 letter from Tim Oberlender to
Technip (“Williams wants to further note, that contrary to TOCI’s E-FAX Letter of November
26, 2002, this circumstance of the Spar Access Date being outside the original window was
specifically contemplated by the parties during formation of the Contract, and intentionally
addressed Article 2.6 and further confirmed in Article 2.7 which set the negotiated limitations on
[Technip’s] remedies therefore.”) and Exhibit A-7, April 8, 2003 letter from Tim Oberlender to
Technip (“The circumstance of the Spar Access Date being outside the original window was
specifically contemplated by the parties during formation of the Contract, and intentionally
addressed Article 2.6 and further confirmed in Article 2.7 which set forth the negotiated
limitations on [Technip’s] remedies therefore.”).

Further, at no time did Williams or Technip modify the Contract in a manner that would
have required such action from Williams. Rather, Williams recognized that the SPAR Access
Date would fall outside the window provided in Article 2.4, notified Technip of this fact, and
was, thus, no longer obligated to follow the diminishing window mechanism.’ See id. In fact, in
both the December 10, 2002 and April 8, 2003 letters referenced above, Williams specifically
states that in order for a new window to be implemented, a Change Order Request would need to

be issued and agreed to; otherwise, the parties would not be contractually bound by the new

 

> As found by the Court, the purpose of the diminishing window mechanism was to allow Williams to insist on the
use of the Deep Blue. See Memorandum and Opinion at 21. Once the SPAR Access Date was set beyond the
diminishing window, Williams lost this ability and Technip gained the right to obtain a boat of opportunity, if the
Deep Blue was not available.

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mechanism.” See id. Thus, Williams’ actions evidence its belief that it was not bound to follow
the mechanism in Article 2.4.

Cc. Technip Did Not Timely Perform Its Work After the Issuance of the SPAR Access
Date

In the alternative, Technip asserts that it is entitled to summary judgment because it
performed its work timely considering the earliest the SPAR Access Date could be set in
accordance with the Contract’s terms. Technip again asserts that Williams was required to
comply with the diminishing window mechanism in Article 2.4. According to Technip,
Williams’ December 31, 2004 notice could only serve as the four-month notice of the 30-day
period required by Article 2.4(d). Therefore, Technip argues that it timely completed its work,
because the earliest the SPAR Access Date could have been was the period of April 8, 2004 to
May 22, 2004. There is no support for this argument in the Contract. The Contract simply does
not contemplate a “new” window once Williams notifies Technip that the SPAR Access Date
will not occur within the original window. Moreover, the Court expressly rejected this argument
when it found that Williams was not required to comply with the diminishing window
mechanism in Article 2.4 and that Williams could set a SPAR Access Date outside of this
window pursuant to Article 2.6. See Memorandum and Opinion at 20, 22 n.7.

V.
ARGUMENT AND AUTHORITIES ON
WILLIAMS’ CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

A. Statement of Undisputed Facts

1. On December 31, 2003, Williams informed Technip that the SPAR Access Date
was January 22, 2004. See Ex. “A”, Affidavit of Guy S. Suffridge at ¢ 5; Technip’s Second

Motion for Partial Summary Judgment at 6, 18 and Exhibit A-9.

 

* Any modification of the Contract was required to be in writing. See Contract, Art. 23.2.

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2. Williams subsequently set the SPAR Access Date for January 27, 2004. See Ex.
“A”, Affidavit of Guy S. Suffridge at | 5; Technip’s Second Motion for Partial Summary
Judgment at 7 n.4.

3. Substantial Completion occurred on April 22, 2004. See Ex. “A”, Affidavit of
Guy S. Suffridge at § 4; Technip’s Second Motion for Partial Summary Judgment at 7.

B. Summary Judgment Standard

As set forth above, under Federal Rule of Civil Procedure 56(c), a motion for summary
judgment should be granted if “the pleadings, depositions, answers to interrogatories, and
admissions on file, together with the affidavits, if any, show that there is no genuine issue as to
any material fact and that the moving party is entitled to a judgment as a matter of law.” FED. R.
Civ. P. 56(c). The moving party bears the burden of establishing that there are no genuine issues
of material fact. Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (Sth Cir. 1994). If the moving
party fails to meet its initial burden, the motion must be denied regardless of the nonmovant’s
response. Id. If the movant does meet its burden, the burden shifts to the nonmoving party to go
beyond the pleadings and designate specific facts showing that there is a genuine issue for trial.

Hickman v. U.G. Lively, 897 F. Supp. 955, 957 (S.D. Tex. 1995) (citing Celotex Corp. v.

 

Catrett, 477 U.S. 317, 325, 106 S. Ct. 2548, 2553-54, 91 L. Ed.2d 265 (1986)). Here, the
undisputed facts establish that Williams is entitled to summary judgment as a matter of law on its
claim for liquidated damages.

Cc. Williams is Entitled to Summary Judgment on its Liquidated Damages Claim
Because the SPAR Access Date was Properly Set in Accordance with the Contract

Pursuant to Article 23.5, Williams is entitled to liquidated damages from Technip in the
event Technip fails to achieve Substantial Completion by the later of March 2, 2003, or the

SPAR Access Date plus fifty-one (51) days. See Contract, Art. 23.5. It is undisputed that

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Williams set the SPAR Access Date for January 27, 2004. See Ex. “A”, Affidavit of Guy S.
Suffridge at 4. As discussed above, the Court has already found that Williams was entitled
unilaterally to set the SPAR Access Date outside of the Article 2.4 diminishing window, thus, the
validity of the January 27, 2004 SPAR Access Date has already been established. See
Memorandum and Opinion at 20, 22 n.7. In fact, in its Motion for Partial Summary Judgment,
Technip does not dispute that Williams provided Technip with notice that it would have access
to the SPAR on January 22, 2004. See Technip’s Second Motion for Partial Summary Judgment
at 6, 18. Williams, however, is only pursuing damages based on a SPAR Access Date of January
27, 2004.° Technip even admits that Williams advised Technip that it could have access to the
SPAR on January 27, 2004. See id. at 7n.4. Consequently, the liquidated damages period began
to run fifty-one (51) days after January 27, which was March 18, 2004. See Contract, Art. 23.5.
Technip admits that it did not complete its work on the SPAR until April 22, 2004, thus entitling
Williams to $4,000,000 in liquidated damages. See Ex. “A”, Affidavit of Guy S. Suffridge at §
4; Technip’s Second Motion for Partial Summary Judgment at 7. Thus, Williams is entitled to
summary judgment on its liquidated damages claim in this amount.

VI.
CONCLUSION

Based upon the foregoing, Williams respectfully requests that the Court deny Technip’s
Second Motion for Partial Summary Judgment, and instead grant Williams’ Cross-motion for

Partial Summary Judgment on Williams breach of contract claim for liquidated damages.

 

° See footnote 2, supra.
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that he served a copy of the foregoing Defendants’
Response to Plaintiffs Second Motion for Partial Summary Judgment and Cross-motion for

Partial Summary Judgment to the following via certified mail, return receipt requested, on the

6th day of June, 2005:

Kerry C, Williams

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